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 1   SALVATORE SCIANDRA, Bar No. 58256
     Law Offices of Salvatore Sciandra
 2   2300 Tulare Street, Suite 230
     Fresno, CA 93721
 3   Telephone: 559.233.1000
     Facsimile: 559.233.6044
 4
 5   Attorney for Defendant, PHIM KHAMPHALA
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 7
 8                        IN THE UNITED STATES DISTRICT COURT FOR THE
 9                                   EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                      )       CASE NUMBER: 1:07-cr-00268-OWW
                                                    )
11                            Plaintiff,            )
                                                    )       STIPULATION AND ORDER FOR A
12   v.                                             )       RESETTING OF HEARING ON REPORT
                                                    )       OF PROBATION OFFICER
13   PHIM KHAMPHALA, et al.,                        )
                                                    )
14                            Defendants.           )
                                                    )
15
16           IT IS HEREBY STIPULATED by and between plaintiff, the United States of America, and the
17   defendant by and through his attorney, that the date set for hearing on the presentence report of the
18   probation officer and sentencing be extended as follows:
19                  Defense Counsel’s Informal Objections due to Probation and AUSA:
                    move from September 8, 2009 to January 4, 2010.
20
21                  Formal Objections must be filed with the Court and served on
                    Probation and AUSA: move from September 21, 2009 to
22                  January 19, 2010.
23                  RPO Hearing: move from October 26, 2009 at 9:00 a.m. to
                    January 25, 2010 at 9:00 a.m.
24
25           The reason for moving the hearing is because defense counsel is still gathering medical
26   records in mitigation.
27   ///
28   ///
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 1   ///
 2   ///
 3                                               Respectfully submitted,
 4
 5   DATED: October 21, 2009                     /s/ Salvatore Sciandra
                                                 SALVATORE SCIANDRA
 6                                               Attorney for Defendant,
                                                 PHIM KHAMPHALA
 7
 8
 9   DATED: October 21, 2009                     /s/ Laurel Montoya
                                                 LAUREL MONTOYA
10                                               Assistant United States Attorney
11
12
     IT IS SO ORDERED.
13
     Dated: October 21, 2009                   /s/ Oliver W. Wanger
14   emm0d6                               UNITED STATES DISTRICT JUDGE
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